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                                Privcap Funding LLC v. Levine, et al.
                              Civil Action No. 19-cv-18122-MCA-LDW

                                Legal Addendum to Monthly Reports

                 Colliers International NJ LLC (“Colliers” or the “Receiver”) was appointed to
  serve as the receiver for the eight properties at issue in this action identified below by an Order
  of this Court entered on September 26, 2019 (ECF # 4), as amended by Order entered December
  4, 2019 (ECF # 40) (the “Receiver Order”):

                 1.    249 Main Avenue, Passaic, NJ 07055
                 2.    1041 Louisa Street, Elizabeth, NJ 07201
                 3.    1114 7th Street, North Bergen, NJ 07047
                 4.    286 Bertrand Avenue, Perth Amboy, NJ 08861
                 5.    112 N. Pavilion Avenue, Riverside, NJ 08075
                 6.    4318 Kennedy Blvd., Union City, NJ 07087
                 7.    299 New Brunswick Avenue, Perth Amboy, NJ 08861
                 8.    429 St. Mihiel Drive, Riverside, NJ 08075

                Sills Cummis & Gross P.C. (“Sills Cummis”) was subsequently approved to serve
  as counsel for the Receiver, to assist with the performance of those duties described in the
  Receiver Order, by further Order of this Court entered on October 10, 2019 (ECF # 7).

                Upon their appointments, the Receiver and subsequently Sills Cummis were
  immediately confronted with a multitude of emergent issues that required immediate actions to
  protect and preserve the Properties, and to achieve a habitable environment for the residential
  and other tenants that continue to occupy them notwithstanding the borrower defendants’
  wholesale – and admitted – abandonment of their management responsibilities. This included
  addressing unpaid utility bills, insect and rodent infestations, notices to vacate Properties issued
  by New Jersey Department of Community Affairs (“DCA”), hundreds of health, safety, and fire
  code violations and fines, and a deluge of tenant complaints. The Receiver and Sills Cummis
  were immediately (and continue to be) inundated with calls, e-mails, and various other
  correspondence from tenants, their legal representatives, state and local officials, and the
  borrower defendants’ unsatisfied creditors, all looking for the Receiver to immediately address
  innumerable issues arising from the borrower defendants’ actions (and inaction). By way of
  example only, since its appointment as the Receiver’s counsel in this matter, Sills Cummis has
  provided the following legal assistance and services to the Receiver with respect to the
  Properties:

                 (1)      Engage and interface with an electronic data vendor to image, convert, and
                          extract electronic data maintained by the Levine Defendants to obtain
                          information necessary for the Receiver to effectively manage these
                          Properties;

                 (2)      Undertake to compel the borrower defendants’ compliance with the
                          Receiver Order, including the transfer of funds, security deposits and
                          financial information necessary to administer, manage and market the


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                    Properties;

             (3)    Prepare notices to tenants of the Properties concerning Colliers’
                    appointment as Receiver and related transition in management;

             (4)    Communicate with Plaintiff, Plaintiff’s counsel, and Plaintiff’s loan
                    servicer concerning the status of the Properties and the receivership;

             (5)    Prepare applications for approval of the Receiver’s counsel and the
                    Receiver’s compensation;

             (6)    Assist the Receiver in preparing and filing monthly status reports and
                    inventories for the Properties;

             (7)    Assist the Receiver with its reporting obligations under the Receiver Order
                    for each of the Properties;

             (8)    Prepare Amended Receiver Order and related application for entry,
                    including extensive communications with interested parties to address
                    proposed modifications and additions;

             (9)    Research and prepare memorandum concerning relocation obligations for
                    displaced tenants;

             (10)   Assist the Receiver with registering the Properties with the New Jersey
                    Department of Community Affairs, in accordance with the New Jersey
                    Hotel and Multiple Dwelling Law, N.J.S.A. § 55:13A-1, et seq.;

             (11)   Assist and advise the Receiver concerning repair and maintenance
                    obligations, engagement of agents, and reporting obligations;

             (12)   Correspond with counsel for the parties and non-parties concerning efforts
                    to market and sell certain Properties and form of sale procedures order;

             (13)   Communicate with vendors and utility providers concerning outstanding
                    invoices for charges incurred prior to the Receiver’s appointment;

             (14)   Communicate with the New Jersey Department of Community Affairs to
                    address reported code violations at the Properties and assist the Receiver
                    with abating the violations;

             (15)   Interface with municipal and state agencies and utility providers to address
                    utility issues and building and health code violations at 429 St. Mihiel
                    Drive, Riverside, NJ, including (a) unpaid water and utility bills, which
                    almost resulted in the water service being terminated and the Township
                    ordering the building to be vacated; and (b) other building code violations;

             (16)   Interface with municipal and state agencies and utility providers to address


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                        building and health code violations at 112 N. Pavilion Avenue, Riverside,
                        NJ, including (a) an order of condemnation and to vacate the remaining
                        tenants due to a bed bug infestation; (b) fire code violations; and (c) other
                        building code violations;

                 (17)   Assist the Receiver in temporarily relocating the tenants of 112 N.
                        Pavilion Avenue, Riverside, NJ due to the bed bug infestation, including
                        interfacing with the advocate for one of the tenants who is legally blind,
                        and other charitable and state agencies and organizations;

                 (18)   Interface with municipal agencies and officials concerning existing code
                        violations for 4318 Kennedy Boulevard, Union City, NJ, and work with
                        the municipality and the Receiver to abate these violations;

                 (19)   Address and resolve leasehold disputes, prepare notice of default letters to
                        tenants due to nonpayment of rents, prepare to institute eviction actions
                        against any tenants that fail to cure their defaults;

                 (20)   Prepare new leases for certain of the tenants at 285 Bertrand Avenue,
                        Perth Amboy, NJ;

                 (21)   Appear at municipal court for hearings and trials on building, health code,
                        fire code, and other health and safety violations at the properties;

                 (22)   Address COVID-19 related legal and receivership issues;

                 (23)   Prepare and file motion to intervene in tax lien foreclosure again filed
                        against 299 New Brunswick Ave., Perth Amboy, NJ;

                 (24)   Address redemption of tax sale certificate for 299 New Brunswick Ave.,
                        Perth Amboy, NJ; and

                 (25)   Address tenant inquiries and advise Receiver concerning security deposit
                        issues.

                  The foregoing constitutes a representative summary of the legal services and
  assistance that Sills Cummis has provided the Receiver since its appointment, and continues to
  provide each day. The foregoing is not intended to be comprehensive or complete. Sills Cummis
  anticipates that it will be necessary to continue to provide these and other similar services going
  forward to address issues such as these, as well as any new issues that may arise.




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